                                       
                                       
                               COURT OF APPEALS
                            TENTH DISTRICT OF TEXAS
                                center10985500
                                April 23, 2015
                              No. 10-14-00112-CR
                             TEVIN SHERARD ELLIOTT
                                      v.
                              THE STATE OF TEXAS
                                       
                                center-4254500
                        From the 54[th] District Court
                            McLennan County, Texas
                         Trial Court No. 2012-1543-C2
                                       
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JUDGMENT

	This Court has reviewed the briefs of the parties and the record in this proceeding as relevant to the issues raised and finds no reversible error is presented.  Accordingly the trial court's judgment as to Count II, signed on January 23, 2014, is affirmed.
	A copy of this judgment will be certified by the Clerk of this Court and delivered to the trial court clerk for enforcement.	
							PER CURIAM
						SHARRI ROESSLER, CLERK

						By:          3040380-17145000		
							Deputy Clerk

